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CRIMINAL MINUTES

                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF GEORGIA
                                                    BRUNSWICK DIVISION

CASE NO.       2:18-cr-47                        DATE        3/7/2019                      TIME      1:52-2:28


USA v.      Donald Adams                                        TAPE NO.       FTR-BWK-CR3         JUDGE     WOOD


BEFORE BENJAMIN W. CHEESBRO, U.S. MAGISTRATE JUDGE                             INTERPRETER:

   X     DEFENDANT PRESENT

   X     COUNSEL FOR DEFENDANT              Alan Tucker
   X     ASSISTANT U.S. ATTORNEY            Jennifer Kirkland
   X     DEPUTY CLERK                       Kim Mixon
         U.S.P.O

   X     U.S. MARSHAL                         X Jay Ciambrone         X     Marty Fitzgurls                Jason Parnell


MOTIONS HEARING.
Here on defendant’s motion as to voluntariness of statements.
Government witness Stephen Lowrey, Glynn Co. PD. Witness sworn. 1:55‐2:06.
Government’s Exhibit 2 (Miranda Rights Form) admitted without objection.
Government’s Exhibit 1 (CD recording of interview) admitted without objection.
Defense cross 2:06‐2:12. Government redirect 2:12.
Defense witness Donald Adams. Defendant sworn. 2:13‐2:17. Government cross‐2:18‐2:23.
Government Exhibit 3 (Transcript from Defendant’s bond hearing) admitted without objection.
Defense argument 2:26.
Court has received and reviewed the interview video and will review it again. Court will take the matter of voluntariness of
statements under advisement and get an order issued.
2:28.
